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1:18-cv-1521-WTL-MJD                 U.S. DISTRICT COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                       Laura A. Briggs, Clerk
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